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UNITED STATES DISTRICT COURT pans ers ean,
SOUTHERN DISTRICT OF WEST VIRGINIA

Robert Mtnemat 3436249
(Enter above the full name of the plaintiff (nmate Reg. # of each Plaintiff)
or plaintiffs in this action).
VERSUS CIVIL ACTION NO. 3° QO-CN- COQ

(Number to be assigned by Court)

William Marghall, IL, Jonathan Frame,
Josh Ward, Brenda Ward,
Samuel Savitla, Andrew Hil,

(Enter above the full name of the defendant
or defendants in this action)

COMPLAINT

I. Previous Lawsuits

A. Have you begun other lawsuits in state or federal court dealing with the same
facts involved in this action or otherwise relating to your imprisonment?

Yes No we

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B. If your answer to A is yes, describe each lawsuit in the space below. (If there
is more than one lawsuit, describe the additional Jawsuits on another piece of
paper, using the same outline).

1. Parties to this previous lawsuit:

Plainuffs: N/A

Defendants: N/A

2, Court Gf federal court. name the district: if state court, name the
county):

_N/A

3, Docket Number: Ni A

4, Name of judge to whom case was assigned:
5. Disposition (for example: Was the case dismissed? Was it appealed?

Is it still pending?

N/A

6. Approximate date of filing lawsuit: / A

4 Approximate date of disposition: NA -
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ii. Place of Present Confinement: Mount Olive. Cortectional Compiles

A. Is there a prisoner grievance procedure in this institution?
Yes wx No _
B. Did you present the facts relating to your complaint in the state prisoner grievance
procedure?

Yes af No

C, If your answer is YES:

1. What steps did you take? Z Filed & Grievance With the Unit

Manager and Appealech to the Suparinterdent and Commissioner,

2. What was the result? Grievance Denied

Dd, If your answer is NO, explain why not: NWA _

Wl. Parties

(In item A below, place your name and inmate registration number in the first blank
and place your present address in the second blank, Do the same for additional
plaintiffs, if any.)

A. Name of Plaintiff; Robert MNemat 3434247
Address; MOCC one moumainside Woy me dOlive WV axes

B. Additional Plaintiff(s) and Address(es):

uo
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(In item C below, place the full name of the defendant in the first blank, his/her
official position in the second blank, and his/her place of employment in the third

blank. Use item D for the names, positions, and places of employment of any
additional defendants.)

C. Defendant: William Mac shall, TT

is employed as: Comm iss ionel

a West Virginia Division of Gerections and Rehabilitation

Dz Additional defendants: Sonathan Fe CAME, Jupec jntendent MOCC,

Josh Ward, Associate Superintendent, Brenda ward, Asfociate
Super iitendent of Programs. Samvel Jaui\\a, Aisjociate Safer intendent
of feewrity, Andrews Mill, Qa Unik Manager, MOCC.,

2
T

TV, Statement of Claim

State here as briefly as possible the facts of your case. Describe how each defendant
is involved. Include also the names of other persons involved, dates, and places. Do
not give any legal arguments or cite any cases or statutes. If you intend to allege a
number of related claims, set forth each claim in a separate paragraph. (Use as much
space as you need. Attach extra sheets if necessary.)

See Attached

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STATEMENT OF CLAM

LF was placed in Administrative Segcegation Cad- Seg.) foc investigation

: inte @ Possible Crime of delivering drags te inmates iin Ad-Seg. theough the _

Low Library. The evidence Presented to me by the Moce Tavestigatar WaS_

Gg“ Sniteh note! and a tect message that wes taken out of G@atert
— Due to the Pact frat K was already Scheduled to See the Ad-Seg, Committee

_ CAS) and T never received a disciplinary Weite-ue, T dloulst ang,

Secious investigation took Glace: 5°) Va eS ee es 3
Ta Preparing Pec the ASC Hearing, L diicovered that I Was NOT

Permitted to have an attorney Attend the Hearing with me, ces bite the

Pact that wes Linder investigation Por a Crime, T decided fo Waive _
Gppecance before te ASC and evoke wry Nght te Camain Silent,
Regardless of the Weak evidence againt me, the A $C _cleaded Hot
_L Should be placed’ onthe Quality of Life Program CQL) without
_Bweike OP of ay disci Plinecsy Proceedings im vi dlatton of the |Y |
Amend ment cequicing Due firocesS,
L Was locked~ down for feventy-T wo hows Stearght uotil
being Placed on the QOL Progcam and Started on that daily Schedule.
On the QOL Progcam All mealS ave Served throughthe Bean Hole and
are Usually Cold with Small Portions Which are eaten alone inthe GH.
The last preal of the doy 15 Served between 3: 40P" and 3:30 Pm uch
1s Figteen hours between the evening meal and BreakCast thet 5
Served at 2:304%" eight after Pill Gil, The meal trays do nok Come |
ith ony Kind of eating Utensil most of the time which Forces inmated _
to Wash ond pe-use disposable SporkS.
Tr mates on the QOL Progcam ave locked in dhe Cell 23 hours

-{-
Case 2:25-cv-00062 Document1 Filed 01/31/25 Page 6 of 13 PagelD #: 6

Pee day ina Standard Prison Celt which i's Smaller fhan a Packing

, Space. The Cei\\5_have Solid Steel doovs With a Five nel ley Thirty- Six

Ine Window Cunning verkieaiy anda ean fole that 9 Kept Jockedl at

Cll times except When acces) [5 Needed! Guchas Recling time. The

z - Cel that Tam housed in has @ Ipack window with tWo Pise ineh flops

foc Sunlight, & bunk, 5 ink, tolet, Desk, Sheol, ancl TV and Storage, Thal
The Pod has Sixteen Cells With insulPicent noise dampeneri when
Combined with the Solid Freel dots Make Commumicatson impossible

«duets Wa eckoy

_ Tamates in Ad-seg,/GOL Get One hour, dually inthe Middle of Dive.
Might, For out of Cell Receation/exercise Pive doys Per Week, The Sut
of Cell Pecceation takes Place iW a Pod withthe Windows KinocKed- cut in

Cages No bigger tran.a Standard Packing Space. The Cages have No Water

‘oe Racilibies aud ore littered with Line, Ceces, aad birds Hat hove

— Oley tw and died, Thre are No Weights, balls, or Ceereational eguiprrent

_ of any Kincl ancl Qn Famare Must fabmit te & degrading Strip Search __
before leasing the Cell ane Comming back. On Satucday and Sunday,

Tnmates are Jocked clown Twenty-Four ows per day with Ne human

Contact except the Dicer s cleljuerin 9 the Co tyay5 andl jurses beng Ms

Med cations, . —— ae in
The inmetes on Ad $e3,/Qol do hwe access fo Tablets and Can

_geka TV once they ceach Level Tl onthe Program . Howeverayor Con bose

Q0ces5 to both if You fece(ve @ Wryte-Up oF Ge Round te be Non- Compliant
With the QOL Program. The CellT are hot in the Summer ancl Cold yn fre
Winter despite the Fact that the building has Ole Cond trong and
heat.
= Q-
Case 2:25-cv-00062 Document1 Filed 01/31/25 Page 7 of 13 PagelD #: 7

3 — Tamates_in Ad 5¢3./Qol have No access to educational of |

- pelmbilétabion Programs or Classes which. Prevent cane com taking eae. =
ov Pro tng Ushich Coudel aPfect Parole eligilality, We hare. NO access
= oe Peligious Seevyices ancl I Personally have Not Seen =
= Chaplain Game to the Aui\iiams Unit Since T hove een Iousecl on the Unit, —
i Aber than the QOL Packedd one iS. Cequived to Complete, there are NO
__ Other fahobilitative activities oc Programing, Coe mates on He GO. _
syle on Ab [40 fed wi Han ep

Pound. The dogs at the Pound ote at least Social izech everyday - ae :

duliide to Fee\ the Sun and breathe Rresh art, Lamahes onthe K a
sk even Permitted! 42 Shower buk three times a. week lk the hs
endure a degrading Mikual oF being Ftripped _buk, macle 0 et aes sia
 Scrotunn, Hen pak Cingers fin has Japuth ancl all over ta ( race | ce
wing bnadcufted anc Shackled fo (iflercily alle a Couple of Peet to te
shove,

—_ h, ‘call Ll do not dare Feeak Uy and tell Staff anytuny heeanse those _
eee \ ) ve call pa Pickle Suit anc posting
| Liye clo are Punished by hens Phrown iwe cell tna P ieost

e\se. Thove experienced that toe pao times over po yeary to try i
“help” because Heir idea of help i s hell, The Small Gmborts FE heve, LM
ee & wuulle to cin Jo £ ye on Fubferg .
mee sae digs LAT wont the Court to Cemenleer 15 that E never Was.
“psmiben- usp and as a Matter of Cet hase not rack a Winie-up Smee Ww\\.

The Simple truth is Prat tere is no othe evidence against me because _
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ft ig Tare ures I woulel | haste. moceruads Q dikcenn inary See oe ae been i
—_ceferredd Cor Prosecution, The Simole Fact is that Hace Wes and ($ No

Creclt ble evidence againit me hecanse T clic nothing wireong, |
Therefore, Siovis all of He Foregoiing,, the Defeviclants, acting under

dhe Color of State Lawl ave Vislating MW 3h Wnaelerol Right Not to be
Kubject 42 Crual onel unaiuel Punighment Despite the Cact Hat

qth of the Deendont's are Cacerac Corrections employees, They Continue i
to be deliberately Indifferent te Inmates Juch as myself health and —_
_____ WeWWoeing, “The 2 tmperseal evidence 6C fhe Negative af affects of Solitary, |

_Cninement on human being 5 Mowday5 {h. Glos t Common Know jeclge.

So the DeRendont's, with more than 75 yeors Combinecl exPecience
in Gorrectiong, | have te excuse to eee Jubjecting human beings
bk the hocv id fyolabion clescribedl here vn Crther than Sadistic. |

____ Pleasuce Ror Which uy all Shoulel be held personally (‘able , —

a

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TV. Statement of Claim (continued):

See Attached

Ns Relief

State briefly exactly what you want the court to do for you. Make no legal arguments.
Cite no cases or statutes.

See Attached

ee
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RELLEF REQUESTED

Because the DeCendank’ S$ ore abe Cntinue elgribea: a ditecstven,
Es __Inhiflerenk-+0 the hater Solifncs ¢ Confinement has hach —— a.
_ Plysical and Mental tealth a Knowingly Keep inPlicting Such Crvel
ea Yausual Punishment on him in Violation of the gtr Amencl ment ie 2
__ te United States Constitution, Plain ieee er pS So
— Konocalste Court ++ se gt tied he ree ea
a @®. Bind the Conditions of ConPinement foe Plaiwhit? Violate tre
Sth Amendment and are Corel and Uinusdol Pu shment,

: (b) Find the Defendants Personally liable Lac Cmpensetoy, Damage ae
ie Bind te Defenclanl's fl Pecsonaiby [noble sr funokite Ranges :

(1D) Geant Declacafety and Trjunctive Relief 4o Plainttr,

i eo Ged oi leer of ees antl Attorney ues Should Dlain HP
_ employ an attorney Cor Pepresentatien .

|
_&) ie Other Peer Pre Couch deems just and castor |

Ttis 4 Peo ect
Robect Ms. Nemof

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V. Relief (continued):

See Attached

VII. Counsel

A. If someone other than a lawyer is assisting you in preparing this case, state the
person’s name:

Nh

B. Have you made any effort to contact a private lawyer to determine if he or she
would represent you in this civil action?
No ff

If so, state the name(s) and address(es) of each lawyer contacted:

Yes

N/A

If not, state your reasons: LU am iMdigent and_do not haue the

Yesouree3 to H ire Gv attomey

G Have you previously had a lawyer representing you in a civil action in this

court?
No _ a

Yes

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if so, state the lawyer’s name and address:

WA

gth

Signed this 1 day of January 20.3

Ny bit Gye -

Signature of Plaintiff or Plaintiffs

I declare under penalty of perjury that the foregoing is true and correct,

Executed on _<Ja@nuor 4 24, OAs
(Date)

biped Wi—

Signature of Movant/Plaintiff

N/A

Signature of Attorney
(if any)

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

Robeck MeNemer”

Your full name

v Civil Action No.: 8):99-Cu -OOOW0D

Wiliam Marshall, 7°

Tonathan Frame, Tosh Ward,
Samuel Sauvilla, Brenda ware
Anckcess Hi\t

Enter above the full name of defendant(s) in this action

Certificate of Service

1, Roloect_ Me Nomel __ (your name here), appearing pro se, hereby certify

that | have served the foregoing 4a USC § 1783 Comele int (title of document

being sent) upon the defendant(s) by depositing true copies of the same in the United States mail,

postage prepaid, upon the following counsel of record for the defendant(s) on

TTonnocy Ai, OAS (insert date here):

(List name and address of counsel for defendant(s))

belt 11 po

(sign your name)

